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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF TEXAS

LAREDO DIVISION
GREGORY SPRINGER, §
Plaintiff, :
Vv. ; CIVIL ACTION NO. 5:15-CV-108
ORTELIO RODRIGUEZ, ET AL., ;
Defendants. :

JOINT NOTICE OF SETTLEMENT
TO THE HONORABLE JUDGE OF SAID COURT:

COME NOW the Parties in Civil Action No. 5:15-CV-108, Gregory Springer, Plaintiff,
through his undersigned counsel, and Ortelio Rodriguez and the United States of America,
Defendants, by and through the United States Attorney for the Southern District of Texas, and
hereby notify the Court that they have entered into a settlement in the above referenced cause.

The settlement agreement between the parties contains both monetary and non-monetary
components. As to the monetary component, counsel for the United States will draft settlement
documents and will deliver them to counsel for Plaintiff. When Plaintiff has executed the
settlement documents and returned them to counsel for the United States, the documents will be
forwarded to the Judgment Fund of the United States for funding of the settlement. Once the
Judgment Fund receives the documents, the funding process normally takes about four to six weeks
to complete. When Plaintiff has received the settlement funds, and the non-monetary component
of the settlement agreement has been finalized, a stipulation of dismissal with prejudice will be

filed by the parties.
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Respectfully Submitted,

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Respectfully Submitted,

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